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                                  Law Office of Juan A Lozada
                                                PROFIT AND LOSS
                                               January - December 2017



                                                                         TOTAL
                      Income
                        Interest Income
                        Other Income
                        Sales
                      Total Income

                      GROSS PROFIT
                      Expenses
                       Advertising & Marketing
                       Auto Expenses
                       Bank Charges & Fees
                       Book Purchases
                       Business Licenses and permits
                       Commissions
                       Continued Education/ Training
                       Contractors
                      Depreciation
                      Duos and Subscriptions
                      Entertainment
                      Insurance
                       Life Insurance
                      Total Insurance
                      Interest Paid
                      Job Supplies
                      Lease Vehicle
                      Meals & Entertainment
                      Moving Expenses
                      Office Expenses
                      Office Supplies & Software
                      Outside Services
                     Parking
                      Payroll Expenses
                      FICA
                      FUTA
                      TX Unemployment
                      Wages
                     Total Payroll Expenses
                     Postage
                     Professional Fees
                      Accounting
                     Total Professional Fees
                     Rent & Lease
                      Pnl,irwetnnF o....e..i
Case 4:20-cv-00068-RWS-CMC Document 88-6 Filed 04/23/20 Page 2 of 20 PageID #: 2166

                                                                                     TOTAL
                       Total Rent & Lease
                       Repairs & Maintenance
                       Returns
                       Telephone
                       Tolls
                       Travel
                       Uniforms
                       Utilities
                      Web & Internet
                     Total Expenses
                     NET OPERATING INCOME
                     Other Income
                       Redemption Credit
                     Total Other Income
                     NET OTHER INCOME

                     NET INCOME




                         Cash Basis Tuesday, February   13,   2018 05:47 PM GMT -8
                                                                                             2/2
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                                            Law Office of Juan A Lozada
                                                          BALANCE SHEET
                                                       As of December 31, 2017



  ASSETS                                                                                     TOTAL
   Current Assets
   Bank Accounts
     Chase Checking
     Chase IOLTA
    Chase Savings
    First Citizens Checking
    First Citizens IOLTA
    Lawpay
   Total Bank Accounts

  Total Current Assets
  Fixed Assets
   Accumulated Depreciation
   Equip Office
   Laptop w /Cover
   Office Fixtures
   Software - CLIO
  Total Fixed Assets
 TOTAL ASSETS

 LIABILITIES AND EQUITY
  Liabilities
  Current Liabilities
   Credit Cards
    Chase CC 1716/1724
   Total Credit Cards
   Other Current Liabilities
   Payroll Liabilities
   Total Other Çurrent Liabilities
  Total Current Liabilities
  Long -Term Liabilities
   Loan from Juan Lozada
  Total Long -Term Liabilities
 Total Liabilities
 Equity
  Retained Earnings
 Withdrawals
 Net Income
 Total Equity
TOTAL LIABILITIES AND EQUITY




                                     Cash Basis Tuesday, February 13, 2018 05:47 PM
                                                                                    GMT -8
                                                                                             1/1
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                              RAMIREZ ACCOUNTING SERVICE, LLC
                                         212 W STASSNEY LN
                                         AUSTIN, TX 78745
                                           (512) 448 -9462
                                     accounting@taxramirez.com
      February 26, 2018


      LAW OFFICE OF JUAN LOZADA
      3305 W. SLAUGHTER LN
      Austin, TX 78748

      Dear Client,

      Enclosed is the 2017 Form 1120, U.S. Corporation Income Tax Return, for LAW OFFICE OF
      JUAN LOZADA for the tax year ending December 31, 2017.

      Your 2017 Form 1120, U.S. Corporation Income Tax Return, for LAW OFFICE OF JUAN
      LOZADA will be electronically filed.

      The balance due of             should be paid by electronic funds transfer. You must notify the
      bank at least one business day before the payment is due.

      The due dates and required payments for your U.S. corporation estimated income tax are as
      follows:

             Installment #1   by                  04/17/18
             Installment #2   by                  06/15/18
             Installment #3   by                  09/17/18
             Installment #4   by                  12/17/18

     Estimated tax payments should be made by electronic funds transfer. You must notify your bank
     at least one business day before the payment is due.


     We very much appreciate the opportunity to serve you. If you have any questions regarding
                                                                                               this
     return, please do not hesitate to call.

     Sincerely,


     ANNA MARQUEZ
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                          RAMIR.EZ ACCOUNTING SERVICE, LLC
                                   212 W STASSNEY LN
                                    AUSTIN, TX 78745
                                       (512) 448 -9462
                                accounting @taxramirez.com


         February 26, 2018

         LAW OFFICE OF JUAN LOZADA
         3305 W. SLAUGHTER LN
         Austin, TX 78748

         Statement of Charges for Services Rendered:

             Total fee                                               $          0.00

         Summary of Federal Form Charges:
                         Description              Charge per Form   Count   Charge
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                            2017 Corporation Income Tax Return
                                       prepared for:

                              LAW OFFICE OF JUAN LOZADA
                                 3305 W. SLAUGHTER LN
                                     Austin, TX 78748




                           RAMIREZ ACCOUNTING SERVICE, LLC
                                  212 W STASSNEY LN
                                    AUSTIN, TX 78745
Case 4:20-cv-00068-RWS-CMC Document 88-6 Filed 04/23/20 Page 7 of 20 PageID #: 2171


                                                                                 U.S. Corporation Income Tax Return
      Form     1120
      Department     the er
                                                        For calendar year 2017 or tax year beginning Apr 17 , 2017, ending Dec 31                                                                                                                              ,   20     17
                                                                                                                                                                                                                                                                                    OMB No. 1545 0123

                                                                                                                                                                                                                                                                                            O
      Internal Revenuo Service                                       Go to www.lrs.gov/Formll20 for Instructions and the latest Information.
                                                                                                                                                                                                                                                                                             O
      A Check it                                                   Name                                                                                                                                                                                     6 Employer Identification number
      la Consolidated return
          (attach Form 851)                    .
                                                       TYPE
                                                                    LAW         OFFICE OF JUAN LOZADA
       b Life /nonlife consoll-                                    Number, street, and room or suite no. If a P.O. box, see Instructions.
                                                       OR                                                                                                                                                                                                  C Date incorporated
          dated
      2 Personal holding co.                           PRINT        3305 W. SLAUGHTER LN                                                                                                                                                                       04/17/2017
         (attach Sch. PH) .                    ,
                                                                   City or town, slate, or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                                                           D       Total assets (see Instructions)
      3 Personal service corp.

  4 Schedule
            (see instructions)



                    la
                                    .


                            M-3 attached
                                           .




                                                   I
                              Gross receipts or sales
                                                       E Check If:
                                                                   Austin
                                                                      (1)        Initial return              (2)    II   Final return
                                                                                                                                                               TX
                                                                                                                                                                       (3)
                                                                                                                                                                                 7874$
                                                                                                                                                                                             Name change                                                 (4)                Address change
                                                                                                                                                                         la                                  139,095
                        b     Returns and allowances                                                                                                                     ib                                                                                         4C:.,,:
                       c      Balance. Subtract line 1b from line la
                                                                                                                                                                                                                                                                        is
                   2          Cost of goods sold (attach Form 1125 -A)
                                                                                                                                                                                                                                                                        2
                   3          Gross profit. Subtract line 2 from line 1c
                                                                                                                                                                                                                                                                        3
                   4          Dividends (Schedule C, line 19)
       É                                                                                                                                                                                                                                                                4
                   5         Interest
                                                                                                                                                                                                                                                                        5                             0
      8            6         Gross rents
                                                                                                                                                                                                                                                                        6
                   7         Gross royalties
                                                                                                                                                                                                                                                                        7
                   8         Capital gain net Income (attach Schedule D (Form 1120))
                                                                                                                                                                                                                                                                        8
                   9         Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797)
                                                                                                                                                                                                                                                                        9
               10            Other income (see Instructions -attach statement)                               Other Ineeme Statement                                                                                                                                     10
               11            Total income. Add lines 3 through 10
                                                                                                                                                                                                                                                                        11
               12            Compensation of officers (see Instructions -attach Form 1125 -E)                                         .            ,       .       .         .           .           .       .           .       .           .                          12
               13            Salaries and wages (less employment credits)
      g                                                                                                                                                                                                                                                                 13
               14            Repairs and maintenance
       u                                                                                                                                                                                                                                                                14
      .c
               15
               16
                             Bad debts
                             Rents
                                                                                                                                                                                                                                                                        15
                                                                                                                                                                                                                                                                        16
       °)      17            Taxes and licenses
                                                                                                                                                                                                                                                                        17
       o       is            Interest
                                                                                                                                                                                                                                                                     18
      Ira                                                                                                                                                                                                                                                                                             0
      A        19            Charitable contributions
                                                                                                                                                                                                                                                                     19
       E
               20            Depreciation from Form 4562 not claimed on Form 1125 -A or elsewhere on return (attach Form 4562)
       i.                                                                                                                                                                                                                                .                           20
      0        21            Depletion
                                                                                                                                                                                                                                                                     21
      2        22            Advertising
                                                                                                                                                                                                                                                                     22
               23            Pension, profit -sharing, etc., plans
                                                                                                                                                                                                                                                                     23
  .g          24            Employee benefit programs
      ui                                                                                                                                                                                                                                                             24
  .c          25            Domestic production activities deduction (attach Form 8903)
                                                                                                                                                                                                                                                                     25
              26            Other deductions (attach statement] Other Deductions                                                Statement                                                                                                                            26
  IS
      I       27            Total deductions. Add lines 12 through 26
                                                                                                                                                                                                                                                         10.         27
      o       28            Taxable income before net operating foss deduction and special deductions. Subtract line
                                                                                                                     27 from line 11.                                                                                                                               28

  ar
              29e
                   b
                            Netóperating loss deduction (see instructions}
                            Special deductions (Schedule C, line 20)
                                                                                                         29a
                                                                                                         29b
                                                                                                                                                                                                                                         Aitt                                tir

                    c       Add lines 29a and 29b
                                                                                                                                                                                                                                                                    29c
 3            30            Taxable Income. Subtract line 29c from line 28. See instructions                                      .           .        .       .         .           .           .       .           .       .       .                              30
 id           31            Total tax (Schedule J, Part I, line 11)
                                                                                                                                                                                                                                                                    31
       fg     32            Total payments arid refundable credits (Schedule J, Part II, line 21)
 I'                                                                                                                                                    .
                                                                                                                                                                                                                                                                    32
                                                                                                                                  .           ,
                                                                                                                                                               .         .           .           .       .           .       .       .

             33             Estimated tax penalty. See instructions. Check if Form 2220 is attached
                                                                                                                                                       .       .
                                                                                                                                                                         .       .               .       .       .           .                                      33
  Sa         34             Amount owed. If lime 32 is smaller than the total of lines 31 and 33, enter amount owed                                                                                      .       .           .       ,               .              34
 ac          35             Overpayment. It line 32 Is larger than the total of lines 31 and 33, enter amount overpaid                                                                                   .       .           .       .           .                  35
             36             Enter amount from line 35 you want: Credited to 2018 estimated tax                                                                                               I                   Refunded                                           36
                            Under penalties of perjury, I declare that have examined this return, including
                                                                            I
                                                                                                             accompanying schodulos and statements, and to the best of my knowledge and boliot,
sign                        and complete. Declaration of preparer (other than taxpayer) is based on all information
                                                                                                                    of which preparer has any                                    knowledge.
                                                                                                                                                                                                                                                                                          it is   true, corroci,


Here `
                            Signature of officer
                                                                                                         I




                                                                                                             Dale
                                                                                                                                          '       PRES I DENT
                                                                                                                                                  Title
                                                                                                                                                                                                                                                                   May the IRS discuss this return
                                                                                                                                                                                                                                                                   with the preparer shown below?
                                                                                                                                                                                                                                                                   See Instructions.     Yes     No   []
                                Print/Type preparer's name                                        Preparer's signature                                                                       Date
Paid                                                                                                                                                                                                                                                 Check
                                                                                                                                                                                                                                                                                   PTIN
                                ANNA MARQUEZ
                                        4                                                                                                                                                                                                                         If
Preparer                                                                                                                                                                                     02/26/2018                                              self -employed                P01884739
                                Firm's name                  RAMIREZ ACCOUNTING SERVICE, LLC
Use Only                                                                                                                                                                                                                         Firm's EIN
                                Firm's address          to   212 W STASSNEY LN AUSTIN TX 78745                                                                                                                                   Phonono.                           (512) 948 -9462
For Paperwork Reduction Act Notice,                                   see separate Instructions.                                                                                                                                                                                    Form 1    120         (2017)
f3AA                                                                                                          REV 01/23/18 PRO
Case 4:20-cv-00068-RWS-CMC Document 88-6 Filed 04/23/20 Page 8 of 20 PageID #: 2172


Form 1120 (2017)                                                                                                                                                                        Page   2
 Schedule C            Dividends and Special Deductions (see instructions)                                                             (a) Dividends
                                                                                                                                                         (b) %
                                                                                                                                                                       (c) Special   deductions
                                                                                                                                         received                               (a) x (b)


   1    Dividends from less- than -20% -owned domestic corporations (other than debt -financed
        stock)                                                                                                                                             70
   2    Dividends from 20 % -or -more -owned domestic corporations (other than debt -financed
        stock)                                                                                                                                             80
                                                                                                                                                               Sec
                                                                                                                                                       InFtnlrt.i0ns
   3    Dividends on debt-financed stock of domestic and foreign corporations                       .




  4     Dividends on certain preferred stock of less- than -20% -owned public utilities                          .                                         42

   5    Dividends on certain preferred stock of 20%-or -more -owned public utilities                        .                                              48

  6     Dividends from less- than -20% -owned foreign corporations and certain FSCs                              .
                                                                                                                                                           70

   7    Dividends from 20 % -or- more-owned foreign corporations and certain FSCs                                                                          80

  a     Dividends from wholly owned foreign subsidiaries              ..                                                                                  'I   00

  9     Total. Add lines   1   through   8.   See instructions for limitation
 10     Dividends from domestic corporations received by a small business investment
        company operating under the Small Business Investment Act of 1958                           .       .




 11     Dividends from affiliated group members


 12     Dividends from certain FSCs


 13     Dividends from foreign corporations not included on line 3, 6, 7,              8, 11,   or 12            .




 14     Income from controlled foreign corporations under subpart               F   (attach Form(s) 5471)                   .




 15     Foreign dividend gross -up


 16     IC -DISC and former DISC dividends not included on line 1, 2, or 3


 17     Other dividends


 18     Deduction for dividends paid on certain preferred stock of public utilities


 19     Total dividends. Add lines       1    through 17. Enter here and on page        1,   line   4   .




 20    Total special deductions. Add lines            9, 10, 11, 12, and 18. Enter here and on                  page   1,   line 29b
                                                                                REV 01/23/18 PRO                                                                         Form    1120 (2017)
Case 4:20-cv-00068-RWS-CMC Document 88-6 Filed 04/23/20 Page 9 of 20 PageID #: 2173


 Form 1120 (2017)                                                                                                                                     Page   3
  Schedule J       Tax Computation and Payment (see instructions)
 Part I -Tax Computation
       1         Check  If the corporation is a member of a controlled group (attach Schedule 0 (Form 1120)). See Instructions

       2         Income tax. Check if a qualified personal service corporation. See Instructions                                          2
       3         Alternative minimum tax (attach Form 4626)                                                                               3
       4         Add lines 2 and 3
       5a        Foreign tax credit (attach Form 1118)                                                          5a
           b     Credit from Form 8834 (see instructions)                                                       51)
           c     General business credit (attach Form 3800)                                                     5c
           d     Credit for prior year minimum tax (attach Form 8827)                                           Sd
           e     Bond credits from Form 8912                                                                    5e
       6         Total credits. Add lines 5a through 5e
       7         Subtract line   6   from line 4
   8             Personal holding company tax (attach Schedule PH (Form 1120))
   9a            Recapture of investment credit (attach Form 4255)                                              9a
           b     Recapture of low- income housing credit (attach Form 8611)                                     9b
           c     Interest due under the look -back method- completed long -term contracts (attach
                 Form 8697)
           d     Interest due under the look -back method   - Income forecast method (attach     Form
                 8866)                                                                                          9d
           e     Alternative tax on qualifying shipping activities (attach Form 8902)                           9e
           f     Other (see instructions -attach statement)                                                     9f
  10             Total. Add lines 9a through 9f
  11             Total tax. Add lines 7, 8, and 10. Enter here and on page   1, line 31
 Part          ll- Payments      and Refundable Credits
  12             2016 overpayment credited to 2017                                                                                       12
  13             2017 estimated tax payments                                                                                             13
  14             2017 refund applied for on Form 4466                                                                                    14   (
  15            Combine lines 12, 13, and 14                                                                                             15
  16            Tax deposited with Form 7004                                                                                             16
  17            Withholding (see instructions)                                                                                           17
  18            Total payments. Add lines 15, 16, and 17                                                                                 18
  19            Refundable credits from:
           a     Form 2439                                                                                  19a
           b    Form 4136                                                                                   19b
           c    Form 8827, line 8c                                                                          19c
           d    Other (attach statement-see instructions)                                                  19d
  20            Total credits. Add lines 19a through 19d                                                                                 20
  21            Total a ments and credits. Add lines 18 and 20. Enter here and on page           1,   line 32                            21
 Schedule K               .
                                 Other Information (see instructions)
   1            Check accounting method: a ® Cash                 b       Accrual         o      Other (specify)
   2            See the instructions and enter the:
           a    Business activity code no.     541110
           b    Business activity         PROFESSIONAL SERVICES
           c    Product or service         LEGAL SERVICES
   3            Is the corporation a subsidiary In an affiliated group or a parent -subsidiary controlled group?
                 If "Yes," enter name and EIN of the parent corporation


   4            At the end of the tax year:
           a    Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or
                                                                                                                                tax- oxempt
                organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
                corporation's stock entitled to vote? If "Yes," complete Part of Schedule G (Form 1120) (attach Schedule G)
                                                                               I
                                                                                                                                 .   .    .


       b        Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting
                                                                                                                                       power of all
                classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G)     .


                                                                              REV 01123118 PRO
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                                   2174

Form 1120 (2017)                                                                                                                                                                                             Page                    4
Schedule K                       Other information (continued from page 3)
                                                                                                                                                                                            Yes                        No
     5
         a
                  At the end of the tax year, did the corporation:
                  Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of
                                                                                                                                                                                                 -'ml
                                                                                                                                                                                                                       X
                  any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions.
                  If "Yes," complete (i) through (iv) below.
                                                                                                                                                                              711.1.1'i34-.
                                                                                                            (II) Employer                                              (Iv) Percentage
                                       (i) Name of     Corporation                                                                   (iii) Country of
                                                                                                        Identification Number                                          Owned in Voting
                                                                                                                  (if any)            Incorporation
                                                                                                                                                                            Stock




         b    Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
              (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions.                                                          X

              If "Yes," complete     (i)   through (iv) below,                                                                                                                   '  '''    -',(
                                                                                                            QI)   Employer          (Ill)Country of                         Maximum
                                                                                                                                                                            (Iv)
                                            (I)   Name of Entity                                        Identification Number                                      Percentage Owned in
                                                                                                                 (If any)             Organization
                                                                                                                                                                   Profit, Loss, or Capital




  6           During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in                                                                      X
              excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316
              If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.                                                                   _   ,) `
              If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary,

  7           At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
                                                                                                                                                                                                                                :0
              classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock?
              For rules of attribution, see section 318. If "Yes," enter:
                                                                                                                                                                            .
                                                                                                                                                                                             ,.,              ,
                                                                                                                                                                                                                   X
                                                                                                                                                                                                                       "'.:"4
                                                                                                                                                                                                                                 V
              (a)    Percentage owned                                 and (b) Owner's country
              (c) The corporation
                      C                     t file Form 5472, Information Return of a 25% Foreign -Owned U.S. Corporation or a Foreign
                                  may have to                                                                                                                                                                                  /'i
                          Engaged In a U.S. Trade or Business, Enter the number of Forms 5472 attached
  8           Check this box If the corporation Issued publicly offered debt instruments with original issue discount
                                                                                                                                                                                   ('
               checked, the corporation
              If                 p       mayY have to file Form 8281, Information Return for PubliclyY Offered Original
                                                                                                                  g Issue Discount Instruments.                                                          d        `'t
                                                                                                                                                                                                                  i,
  9           Enter the amount of tax-exempt p interest received or accrued during9 the tax Y
                                                                                            year   $                                                                               :    Kfi
                                                                                                                                                                                        > ...sfi
                                                                                                                                                                                                 '`'t    f                 3


10            Enter the number of shareholders at the end of the tax year (if 100 or fewer)
11           If the corpòration has an NOL for the tax year and is electing to forego the carryback period, check here                                                                  i        t
             If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502- 21(b)(3) must be attached                                            '.:f:                 :,
                                                                                                                                                                                                                       .




             or the election will not be valid.                                                                                                                                         _            ;
                                                                                                                                                                                                         il
12           Enter the available NOL carryover from prior tax years (do not reduce               it   by any deduction reported on page                                                     `ws
             1, line 29a.)                                                                                                           $                                             l:                    _,

                                                                                                                                                                                                         r....
                                                                                                                                                                                                                  -;i:          ..1


13           Are the corporation's total receipts (page 1, line la, plus lines 4 through 1 0) for the tax year and its total assets at the end
                                                                                                                                               of the
             tax year less than $250,000?                                                                                                                                                   X
             If"Yes," the corporation is not required to complete Schedules L, M -1, and M -2, Instead, enter the total amount of cash
                                                                                                                                       distributions
             and the book value of property distributions (other than cash) made during the tax year   $
14           Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions                              .   .   .    .                                         X
             If "Yes," complete and attach Schedule UTP.                                                                                                                                                      ''               t'_

15a          Did the corporation make any payments in 2017 that would require it to file Form(s) 1099?                                                                                      X
     b       If "Yes," did or will the corporation file required Forms 1099?                                                                                                                X
16           During this tax year, did the corporation have an 80% or more change           in   ownership, including a change due to redemption of its own stock?                                                X
17           During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)                                                                 X
             of its assets in a taxable, non -taxable, or tax deferred transaction?
18           Did the corporation receive assets in             a   section 351 transfer in which any of the transferred assets had          a   fair market basis or fair
             market value of more than $1 million?                                                                                                                                                                X

19           During the corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042 -S
             under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code?                                                                                                  X
                                                                                      REV 01/23/18 PRO                                                                 Form        1120                      (2017)
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Form 1120 (2017)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Page              5
Schedule L                          Balance Sheets per Books                                                                                                                                                                                                                                          Beginning of tax year                                                                                                                                                                                                End of tax year
                                         Assets                                                                                                                                                                                                                                       (a)                                                                                         (b)                                                                                                          (c)                                                                                                      (d)
      1

      2a
               Cash
               Trade notes und accounts receivable                                                                                                                .                   .
                                                                                                                                                                                                                      *       41:,.,:lh
                                                                                                                                                                                                                                                                                           isV...4V
                                                                                                                                                                                                                                                                                      ,f`',.5 -*:..-',.';
                                                                                                                                                                                                                                                                                                                                                             .,
                                                                                                                                                                                                                                                                                                                                                                                            -


                                                                                                                                                                                                                                                                                                                                                                                                    z..,
                                                                                                                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                                                                                                                               .,
                                                                                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                                                                                                        :   ;Y't            I   -       Mal  ,,..        .,               ,           , ., h
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     :I t i -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  'V.',.....s.


          b    Less allowance for bad debts                                                                       .                           .               .                       .                                   (                                                                                                                                                                                                                                                                                                                                            )

     3         Inventories                                                                                                                                                                                                                                                                                                                                                                                                                                                                W'f,
     4         U.S. government obligations                                                                            .                       .               .                       .




     5         Tax-exempt securities (see Instructions)                                                                                                                               .
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     6         Other current assets (attach statement)                                                                                                                                .



     7         Loans to shareholders                                          .                   .                   .                       ,               .                       .               ,
                                                                                                                                                                                                                                  ..                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                'A pia                                                             t.


     8         Mortgage and real estate loans                                                                     .                           .               .                   ,                   ,




     9         Other investments (attach statement)                                                                                                           .                                       .
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 10a           Buildings and other depreciable assets                                                                                                                             .                   .



          b    Less accumulated depreciation .                                                                                                .               ,                   .                   ,


 11a
          b
               Depletable assets
               Less accumulated depletion
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 12           Land (net of any amortization)                                                                      .                                                               ,               .                   MS/                                                                             4,.¡,,,i.1,-                   '4                                                                                             ''q.Z1WriitV         Oak
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 13a          Intangible assets (amortizable only)                                                                                                            .                   .               .
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          b   Less accumulated amortization                                                                       .                       .                   .                   .               .                                                                                                                                                                                                                                     (                                                                                                                              )

 14
 15           Total assets              .....
              Other assets (attach statement)                                                                     .



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 16
                   Liabilities and Shareholders' Equity
              Accounts payable                                                                                                            .               .                       .
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 17           Mortgages, notes, bonds payable in less than                                                                                                                        1       year                            jI)'                                                                i                                                                                                                                                       rI1,410
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 18           Other current liabilities (attach statement)                                                                                                                        .               .
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 19           Loans from shareholders                                                                                                                                                                                                                                                                                                                                                                                                                                                                         -.4,,
 20           Mortgages, notes, bonds payable in
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                                                                                                                                  year or more
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 21           Other liabilities (attach statement)                                                                                                                                                .
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 22           Capital stock: a Preferred stock
                                        b Common stock
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23
24
25
              Additional paid-In capital
              Retained earnings-Appropriated (attach statement)
              Retained eamings-Unapproprlated
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26            Adjustments to shareholders equity (attach statement )
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27            Less cost of treasury stock
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       '                                                                                )

28            Total liabilities and shareholders' equity                                                                                                                                                                               .k.        -
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Schedule M-1                        Reconciliation of Income (Loss) per Books With Income per Return
                                    Note: The corporation may be required to file Schedule M-3. See Instructions.
  1           Net Income (loss) per books                                                 ,               ,                       .                   .                   .                   .                                                                                                                                                .              7           income recorded on books this year                                                                                                                                                               '
  2           Federal-income tax per books                                                                .                       .                   .                   ,                                                                                                                                                                                               not Included on this return (itemize):
 3            Excess of capital losses over capital gains                                                                                                                                     .                                                                                                                                                                           Tax-exempt interest                                                                       $
 4            Income subject to tax not recorded on books
                                                                                                                                                                                                               ,          )1,,?.42.4.::                                                                                              .




              this year (Itemize):
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                                                                                                                                                                                                                                                                                                                                                             8            Deductions on this return not charged
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           00        -                  ,,,,N,..:-

 6            Expenses recorded on books this year not                                                                                                                                                                                    D-1)f ,tr                                                   3:                  ....,,*-
                                                                                                                                                                                                                                                                                                                                                                          against book Income this year (itemize):                                                                                                                                                                                      ---                    -,
              deducted on thls return (itemize):
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                                                                                                                                                                                                                                                                 st,--9.,4,-,
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                                                                                                                                                                                                                                                                                                                                                                  a       Depreciation                                  .                        .           $                                                                                             .               '1'                    '               .   .,



                                                                                                                                                                                                                                      '1..4 Afst,..!- Is                                                               '74-,,,,,47j
      a       Depreciation          .     ,           .           ,               $                                                                                                                                                     4 Z"'''.                                                                       i                                          b       Charitable contributions                                                           $                                                                                                                   ,Fe.
                                                                                                                                                                                                                                                                                                                               -                    '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 thA,    ir;t-'4 ..                 .1
      b       Charitable contributions                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ,
                                                                  ,               $                                                                                                                                                                                                                                                                                       ROUNDING
      c       Travel and entertainment                            .               $                                                                                                                       .                                                                                                                                                                                                                                                                                                                                                                                                                         .

                                                                                                                                                                                                                                                                                                                                           .                 9            Add lines             7      and 8                                                                                                                                                                                                                        .
 6            Add lines   1   through 5           .
                                                                                                                                  .                                                                                                                                                                                                        .             10               Income (page 1, line 28)-line                                                                                       6       less line 9                                                                                                                   .
Schedule M-2                    Analysis of Unappropriated Retained Earnings per Books (Line 25, Schedule L)
 i            Balance at beginning of year                                                            .                           .               .                   .                   .                                                                                                                                                                  5            Distributions:                            a           Cash                                                .                 .                .                      .


 2            Net Income (loss) per books                                             .                   .                       .               .                       .               ,                                                                                                                                                .                                                                        b Stock                                                         .                 .                .                      .


 3            Other increases (itemize):                                                                                                                                                                                          . -                  ,k,:'                -         -               -                        .4.11
                                                                                                                                                                                                                                                                                                                                                                                                                    c Property                                                                    ,                    .



                                                                                                                                                                                                                                                                                                                                                             6            Other decreases (Itemize):
                                                                                                                                                                                                                                                                                                                                                             7        Add lines 5 and                                       6
 4            Add lines 1, 2, and 3               .           .                   .                   .                       .                   .                   .                   .
                                                                                                                                                                                                                                                                                                                                                             8            Balance at end of year (line 4 less line 7)                                                                                                                                                                                                               .


                                                                                                                                                                                                                                                                  REV 01/23/18 PRO                                                                                                                                                                                                                                                                                                       Form           1120          (2017)
  Case 4:20-cv-00068-RWS-CMC Document 88-6 Filed 04/23/20 Page 12 of 20 PageID #:
                                    2176

 Form   1125E                                                     Compensation of Officers
 (Rev. October 2018)
                                                                                                                                                                   OMB No. 1545 -0123
 Department of the Treasury
                                            Attach to Form 1120, 1120-C, 1120 -F, 1120 -REIT, 1120-RIC, or 1120S.
 Internal Revenue Service         Information about Form 1125-E and its separate Instructions is at www.irs,gov /fform1125e.
 Name
                                                                                                                                                      Employer identification number
  LAW    OFFICE OF JUAN LOZADA
 Note: Complete Form 1125 -E only if total receipts are $500,000 or more. See instructions for definition of total receipts.


                       (a) Name of officer                         (b) Social security number     (c) Percent of         Percent of stock owned
                                                                                                time devoted to                                                       (f) Amount of
                                                                       {see instructions)                                                                            compensation
                                                                                                     business           (d) Common             (e) Preferred


      iJUAN ANTONIO LOZADA LEONI                                                                        100%                          %                      %             23,184.
                                                                                                               %                      %                      %


                                                                                                               %                      %                      %


                                                                                                                                      %


                                                                                                              %                       %




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                                                                                                              %                   %                         7U




                                                                                                              %                   %                         %


                                                                                                                                  %

  2     Total compensation of officers        .       .   .   .
                                                                                                                                                        2                 23,184.
  3     Compensation of officers claimed on Form 1125 -A or elsewhere on return                           .    .          .   .   .        .     ,      3

  4     Subtract line 3 from line 2. Enter the result here and on Form 1120, page                                  1,   line 12 or the
        appropriate line of your tax return .  .  .
                                                                                                                                                       4                  23,184.
For Paperwork Reduction Act Notice, see separate instructions. BAA                                                            REV 11/13/17 PRO          Form     1125 -E (Rev,   10 -2016)
  Case 4:20-cv-00068-RWS-CMC Document 88-6 Filed 04/23/20 Page 13 of 20 PageID #:
                                    2177


 Form      2220                             Underpayment of Estimated Tax by Corporations                                                                                                            0M(3 No. 1545-0123


Department of the Treasury
Internal Revenue Sem ice
                                                                       I. Attach to the corporation's tax return.
                                                     Go to www.irs.gov /Form2220       for instructions and the latest information.
                                                                                                                                                                                                      2017
Name                                                                                                                                                                         Employer Identification number
LAW        OFFICE OF JUAN LOZADA
Note: Generally, the corporation isn't required to file Form 2220 (see Part II below for exceptions) because the IRS will figure any penalty
owed and bill the corporation. However, the corporation may still use Form 2220 to figure the penalty. If so, enter the amount from page 2, line
38 on the estimated tax penalty line of the corporation's income tax return, but do not attach Form 2220.
                 Required Annual Payment

   1        Total tax (see Instructions)                                                                                                                                                       1                                        ,


   2a                      g company
            Personal holding      p   Y tax ((Schedule PH ((Form 1120 ) line 26)) included on line 1
                                                                                          ,                                                                       2a
       b    Look -back interest included on line 1 under section 460(b)(2) for completed long -term
            contracts or section 167(g) for depreciation under the Income forecast method                                               .
                                                                                                                                                                  2b
       o    Credit for federal tax paid on fuels (see instructions)                                                                                               2c
       d    Total. Add lines 2a through 2c                                                                                                                                                     2d
   3        Subtract line 2d from line           1, If   the result is less than $500, do not complete or file This form. The corporation
            doesn't owe the penalty                                                                                                                                                            3
   4        Enter the tax shown on the corporation's 2016 Income tax return. See instructions. Caution: if the tax is zero or
            the tax year was for less than 12 months, skip this line and enter the amount from line 3 on line 5                                                                    .       .
                                                                                                                                                                                               4
   5        Required annual payment. Enter the smaller of line                  3       or line 4. If the corporation is required to skip line 4, enter
            the amount from line 3                                                                                                                                                             5
  Part II        Reasons for Filing -Check the boxes below that apply. If any boxes are checked, the corporation must file
                 Form 2220 even If it doesn't owe a penalty. See instructions.
   6           The corporation Is using the adjusted seasonal installment method.
   7           The corporation is using the annualized income installment method.
   8           The corporation Is a "large corporation" figuring Its first required installment based on the prior year's tax.
 Part III        Figuring the Underpayment
                                                                                                                                                      (a)                    (b)               (c)                      (d)
   9       Installment due dates. Enter in columns (a) through (d) the 15th day
           of the 4th (Form 990 -PF filers: Use 5th month), 6th, 9th, and 12th
           months of the corporation's tax year                                                                                9
  10       Required installments. If the box on line 6 and /or line 7 above Is
           checked, enter the amounts from Schedule A, lino 38. If the box on
           line 8 (but not 6 or 7) is checked, see instructions for the amounts to
           enter. If none of these boxes are checked, enter 25% (0.25) of line 5
           above ìn,each column                                                                                               10                                         .             .               .                            .
  11       Estimated tax paid or credited for each period. For column (a) only,
           enter the amount from line 11 on line 15. See Instructions.                                ,       .       .
                                                                                                                          .
                                                                                                                              11
           Complete lines 12 through 18 of one column before going to the                                                          '              }   °




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 12
 13
           Enter amount, if any from line 18 of the preceding column
           Add lines 11 and 12
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 14
 15
           Add amounts on lines 16 and 17 of the preceding column
           Subtract line 14 from line 13. If zero or less, enter -0- .
                                                                            .       .         .           .       .
                                                                                                                              14    '1.;                             .




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 18        If the amount on line 15 is zero, subtract line 13 from line 14.
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                                                                                                                                                           Ya                                                  K   ,        Nr
           Otherwise, enter -0-
                          '                                                                                                   18eÿ i                  ..    ._.                                            l&          !-     3'-
 17        Underpayment. If line       less than or equal to line 10, subtract Tine
                                       15   1s

           15 from line 10. Then go to line 12 of the next column. Otherwise, go
           to line   18                                                                                                       17                                                                                                    .
 18        Overpayment,       If line 10 Is
                                        loss than line 15, subtract line 10 from line
                                                                                                                                                                                                           'k3;
           15. Then go to line 12 of the next column                                                                          18                                                                           4
Go fo Part IV on page 2 to figura the penalty. Do not go to Part IV if there are no entries on line 17-no penalty is owed.
For Paperwork Reduction Act Notice, see separate Instructions.                                                                                                                                         Form        2220       (2017)
BAA                                                                                               REV 02/07/18 PRO
  Case 4:20-cv-00068-RWS-CMC Document 88-6 Filed 04/23/20 Page 14 of 20 PageID #:
                                    2178
 Form 2220 (2017)
                                                                                                                                                      Page    2
   Part IV Figuring the Penalty

   19    Enter the date of payment or the 15th day of the 4th month after the
         close of the tax year, whichever is oarlier. (C Corporations with tax
         years ending June 30 and S corporations: Use 3rd month instead
         of 4th month. Form 990-PF and Form 990 -T filers: Use 5th month
         instead of 4th month.) See instructions            .        .    .



   20    Number of days from due date of installment on line 9 to the date
         shown on line 19


   21     Number of days on line 20 after 4/15/2017 and before 7/1/2017


   22    Underpayment on Ilne 17 x          Number of days on line 21
                                                                                   x   4% (0.04)

   23    Number of days on line 20 after 6/30/2017 and before 10/1/2017

                                            Number of days               line 23
  24     Underpayment on line 17       x                                               4% (0.04)

  25     Number of days on line 20 after 9/30/2017 and before 1/1/2018

                                            Number of days on line 25
  26     Underpayment on Ilne 17       x                                           x   4°0%
                                                                                         o ( .04 )


  27     Number of days on line 20 after 12/31/2017 and before 4/1/2018

                                           Number of                on line 27
  28     Underpayment on line 17 x                                                 x   4% (0,04)
                                                       36   5
  29     Number of days on line 20 after 3/31/2018 and before 7/1/2018

                                           Number of days °n line 29
  30     Underpayment on line 17 x                                                      ova
                                                       365

  31    Number of days on lino 20 after 6/30/2018 and before 10/1/2018

                                           Number of        5s on             31
  32    Underpayment on line 17 x
                                                       3a

 33     Number of days on line 20 after 9/30/2018 and before 1/1/2019

                                           Number of 36s on line 33
 34     Underpayment on line 17 x

 35     Number of days on line 20 after 12/31 /2018 and before 3/16/2019

                                           Number of days on line 35
 36     Underpayment on line 17 x
                                                     36rí                          x %

 37     Add lines 22, 24, 26, 28, 30, 32, 34, and 36            .




 38     Penalty. Add columns    (a)   through (d) of line 37. Enter the total here and on Form 1120, line 33; or the comparable
        line for other income tax returns
                                                                                                                                  38
 *Use the penalty interest rate for each calendar quarter, which the IRS will determine
                                                                                         during the first month in the preceding quarter.
These rates are published quarterly in an IRS News Release and in a revenue ruling
                                                                                       in the Internal Revenue Bulletin. To obtain this
information on the Internet, access the IRS website at www.irs.gov. You can also call 1- 800 -829
                                                                                                      -4933 to get interest rate
Information.
                                                                                        REV 02/07/18 PRO
                                                                                                                                       Form   2220   (2017)
 Case 4:20-cv-00068-RWS-CMC Document 88-6 Filed 04/23/20 Page 15 of 20 PageID #:
                                   2179
 Form 2220 (2017)
                                                                                                                                                                                          Pago        3
 Schedule A                        Adjusted Seasonal Installment Method and Annualized Income Installment
                                                                                                          Method
                    See instructions.
 Form 11208 filers: For lines 1, 2, 3, and 21, below, "taxable income" refers to excess net
                                                                                            passive income or the amount on which tax
 is Imposed under section 1374(a), whichever applies.
     Part          I   Adjusted Seasonal Installment Method
                       Caution: Use this method only if the base period percentage for any 6 consecutive months
                                                                                                                                                         is at least 70 %.
                       See instructions.
                                                                                                                (a)             (b)                (c)                          (d)
         1         Enter taxable income for the following periods.                                  First   3    months   First 5 months   First       months          First
                                                                                                                                                   8                           11   months
             a     Tax year beginning in 2014                                                  la
             b     Tax year beginning in 2015
                                                                                               lb
             c     Tax year beginning in 2016
                                                                                               lc
      2             Enter taxable income for each period for the tax year beginning in
                   2017. See the Instructions for the treatment of extraordinary
                   items                                                                        2
     3             Enter taxable income for the following periods.                                  First   4   months    First 6 months   First 9 months                Entire year
             a     Tax year beginning in 2014                                                  3a
             b     Tax year beginning in 2015                                                  3b
             c    Tax year beginning in 2016                                                   3c

     4            Divide the amount in each column on line      la   by the amount in
                  column (d) on line 3a                                                        4
     5            Divide the amount in each column on line      lb by   the amount in
                  column (d) on line 3b                                                        5
     6            Divide the amount in each column on line      lc   by the amount in
                  column (d) on line 3c                                                        6
     7            Add lines 4 through 6                                                        7
     8            Divide line 7 by 3.0                                                         8
     9a           Divide line 2 by line 8                                                      9a
         b        Extraordinary items (see instructions)                                       9b
         c        Add lines 9a and 9b                                                          9c

 10               Figure the tax on the amount on line 9c using the Instructions
                  for Form 1120, Schedule J, line 2 or comparable line of
                  corporation's return
                                                                                           10
 11a             Divide the amount in columns (a) through (c) on line 3a by the
                 amount in column (d) on line 3a
                                                                                                                                                                          {
      b          Divide the amount in columns (a) through c on line 3b by the
                 amount in column (d) on line 3b
                                                                                                                                                                                         p' "'
                                                                                                                                                                                             "


                                                                                          11b.
      c          Divide .the amount in columns (a) through (c) on line 3c by the                                                                                 .``
                                                                                                                                                                                          és=yff
                 amount in column (d) on line 3c                                                                                                                                    p}
                                                                                          110
                                                                                                                                                                                             g"
                                                                                                                                                                           ¿'_°'.',.Stil t        i
12               Add lines   l l a through   11   c                                        12

13               Divide line 12 by 3.0                                                     13                                                                     _                 1

14               Multiply the amount In columns (a) through (c) of line 10 by
                 columns (a) through (o) of line 13. In column (d), enter the
                 amount from line 10, column (d)
                                                                                           14

16               Enter any alternative minimum tax for each payment period. See
                 instructions
                                                                                          15
16               Enter any other taxes for each payment period. See instructions          16
17               Add lines 14 through 16
                                                                                          17
18               For each period, enter the same type of credits as allowed on
                 Form 2220, lines 1 and 2c. See instructions
                                                                                          18
19               Total tax after credits, Subtract line 18 from line 17.   If   zero or
                 less, enter -0-
                                                                                          19
                                                                            REV 02l07118 PRO
                                                                                                                                                                Form    2220             (2017)
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Form 2220 (2017)                                                                                                                                                            Page   4
 Part II       Annualized Income Installment Method
                                                                                                               (a)                    (b)           (c)               (d)
                                                                                                       First                  First         First             First
 20       Annualization periods (see instructions)                                             20          months               months         months             months

 21       Enter   taxable income for each annualization period.                        See
          instructions for the treatment of extraordinary items    .       .       .
                                                                                               21


 22       Annualization amounts (see instructions)                                             22


 23a      Annualized taxable income. Multiply line 21 by line 22           .       .           23a
      b   Extraordinary items (see instructions)                                               23b
      c   Add lines 23a and 23b                                                                23c

 24       Figure the tax on the amount on line 23c using the instructions
          for Form 1120, Schedule J, line 2, or comparable line of
          corporation's return                                                                 24


 25        Enter any alternative minimum tax for each payment period (see
          instructions)                                                                        25


 28       Enter any other taxes for each payment period. See instructions                      26


 27       Total tax. Add lines 24 through 26                                                   27

 28       For each period, enter the same type of credits as allowed on
          Form 2220, lines 1 and 2c. See instructions                                          28


 29       Total tax after credits. Subtract line 28 from line 27. If zero or
          less, enter -0-                                                                      29

 30       Applicable percentage                                                                30           25%                   50%               75%           100%

 31       Multiply line 29 by line 30                                                          31
               Required Installments
          Note: Complete lines 32 through 38 of one column before                                              1st                2nd               3rd               4th
          completing the next column.                                                                   installment           installment    installment      installment
 32       If only PartI or Part Il is completed, enter the amount In each column

          from line 19 or line 31. If both parts are completed, enter the
          smaller-of-the amounts in each column from line 19 or line 31        .
                                                                                               32
                                                                                                     .-2:44,.4.k,=;,...

33        Add the amounts in all preceding columns of line 38, See
          instructions                                                                         33         'ÿ`Y1,
34        Adjusted seasonal or annualized income installments.
          Subtract line 33 from line 32. If zero or less, enter -0-    .       .           .   34


35        Enter 25% (0.25) of line  5 on page  of Form 2220 in each
                                                    1


          column. Note: "Large corporations," see the instructions for
          line 10 for the amounts to enter                                                     35
                                                                                                                     <'â'
                                                                                                                          f
36        Subtract line 38 of the preceding column from line 37 of the
          preceding column                                                                     36 ',(r<


37        Add lines 35 and 36                                                                  37

38        Required installments. Enter the smaller of line 34 or line 37
          here and on page 1 of Form 2220, line 10. See instructions                   .       38
                                                                           REV 02107l18 PRO                                                                Form   2220      (2017)
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      For.   8879-C                                    IRS e-file Signature Authorization for Form 1120                                                                     OMB No. 1545 -0123

                                   For calendar year 2017, or tax year beginning          Apr     17
      Department of the Treasury
     Internal Revenue Service
                                                                                                             ,   2017, ending
                                                                         Do not send to the IRS. Keep for your records.
                                                              Go to www.irs.pov/Form8879C for the latest information.
                                                                                                                                 Dec 31              ,   20    17
                                                                                                                                                                               2017
     Name of corporation
                                                                                                                                          Employer Identification number
     LAW    OFFICE OF JUAN LOZADA
       Part      Tax Return Information (Whole dollars only)
        1   Total income (Form 1120, line 11)
        2   Taxable income (Form 1120, line 30)
       3    Total tax (Form 1120, line 31)
       4    Amount owed (Form 112.0, line 34)
                                                                                                                                                                           4
       5    Overpayment (Form 1120, line 35)
                                                                                                                                                                           5
      Part II    Declaration and Signature Authorization of Officer. Be sure to get a copy of
                                                                                                                                                  the corporation's return.
      Under penalties of perjury, declare that I am an officer of the
                                       I
                                                                      above corporation and that I have examined a copy of the corporation's
      2017 electronic income tax return and accompanying schedules
                                                                          and statements and to the best of my knowledge and belief,
     true, correct, and complete. further declare that the                                                                                      it is
                                               I
                                                             amounts in Part above are the amounts shown on the copy of the
      electronic income tax return. consent to allow my electronic return
                                                                                                    I
                                                                                                                                      corporation's
                                                   I
                                                                             originator (ERO), transmitter, or intermediate service provider to
     send the corporation's return to the IRS and to receive from the IRS
                                                                             (a) an acknowledgement of receipt or reason for rejection of
     transmission, (b) the reason for any delay in processing the return or refund, and                                                          the
                                                                                           (c) the date of any refund. If applicable, authorize
     the U.S. Treasury and its designated Financial Agent to initiate                                                                                                                  I

                                                                         an electronic funds withdrawal (direct debit) entry to the
     institution account indicated in the tax preparation software for payment of                                                         financial
                                                                                     the corporation's federal taxes owed on this return, and
    the financial institution to debit the entry to this account. To revoke a
                                                                               payment, I must contact the U.S. Treasury Financial Agent at
     1-888.353 -4537 no later than 2 business days prior to the payment
                                                                           (settlement) date. I also authorize the financial institutions involved
    in the processing of the electronic payment of taxes to
                                                                 receive confidential information necessary to answer inquiries
    issues related to the payment. have selected a personal Identification                                                             and resolve
                                                       I
                                                                                number (PIN) as my signature for the corporation's electronic
    income tax return and, if applicable, the corporation's consent to electronic funds
                                                                                          withdrawal,
    Officer's PIN: check one box only

                  I   authorize                                                                                     to enter my PIN                                         as my signature
                                                                      ERO firm name
                                                                                                                                             do not enter all zeros
                  on the corporation's 2017 electronically filed income tax return.


             ®    As an officer of the corporation,               I   will enter my PIN as my signature on the corporation's 2017
                                                                                                                                  electronically filed income tax
                  return.
    Officer's signature
                                                                                                   Date I.                                   Tttlo       PRESIDENT
    Part Ill          Certification and Authentication

    ERO's EFIN /PIN. Enter your six -digit EFIN followed by your five
                                                                      -digit self -selected PIN.
                                                                                                                                                              do not enter all zeros
Icertify that the above numeric entry is my PIN, which Is my
                                                             signature on the 2017 electronically filed Income tax return for the
corporation indicated above. confirm that am submitting this return in
                                           I
                                                              I
                                                                         accordance with the requirements of Pub. 3112, IRS a -file
Application and Participation, and Pub. 4163, Modernized e-File (MeF)
                                                                       Information for Authorized IRS e-file Providers for Business
Returns.


ERO's signature
                                                                                                                                Date 1.   02/26/2018

                                               ERO Must Retain This Form -- See Instructions
                                       Do Not Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see Instructions.
BAA                                                                                   REV 11115/17 PRO
                                                                                                                                                                          Form   8879-C    (2017)
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 Form         4562                                                                 (`>   e6t   roc:   ati ®n and             Aua        Mfr           zz d              >>rlil                                        OMB No, 1545 -0172
                                                                                   (including Information on Listed Property)
 Department of the Treasury
                                                                                                      r
                                                                                        Attach to your tax return.                                                                                                     20017
                                                                                                                                                                                                               Attachment
 Internal Revenue Service   (99)                               it-Go to www.irs.govlForm4562 for instructions and the latest information.
                                                                                                                                                                                                               Sequence No.         179
 Narne(s) shown on return                                                                             Business or activity to which this term relates                                                     Identifying number
 LAW    OFFICE OF JUAN LOZADA                                Form 1:120 Line 20
              Election To Expense Certain Property Under Section 179
              Note: If you have any listed property, complete Part V before you complete Part I.
      1 Maximum amount (see instructions)
      2 Total cost of section 179 property placed in service (see instructions)
                                                                                               .                                        ,                                        .


      3 Threshold cost of section 179 property before reduction in limitation (see instructions)
                                                                                                                                                                                                              3                            .
      4 Reduction in limitation, Subtract line 3 from line 2. If zero or less, enter -0-                                                          .         .       .      .     .    .     .    .   .                                 0.
      6 Dollar limitation for tax year. Subtract line 4 from line 1, If zero or less, enter -0 -. If
                                                                                                     married filing
        separately, see instructions
                                                                                                                                                                                                                                            .
      6                         (a) Description of property                                                       (b) Cost (business use only)                                       (c) Elected cost
 EQUIP OFFICE                                                                                                                                                   .                                                 .
 See Additional Section 179 Property Statement
                                                                                                                                                                                                                  .
   7 Listed property, Enter the amount from line 29                                                                                                    7
      Total elected cost of section 179 property. Add amounts in column (c), linos 6 and 7
      8
                                                                                                                                                                                                                                           .
    9 Tentative deduction. Enter the smaller of line 5 or line 8
                                                                                                                                                                                                              9                            .
  10 Carryover of disallowed deduction from line 13 of your 2016 Form 4562.                                                                   .         .
                                                                                                                                                                                                          10
  11  Business income limitation. Enter the smaller of business income (not less than zero) or line 5 (see instructions)
  12 Section 179 expenso deduction. Add lines 9 and 10, but don't enter more than line 11
                                                                                                                                                                                                          11                               .
                                                                                                                                                                                                          1    2                           .
  13 Carryover of disallowed deduction to 2018. Add lines 9 and 10, less line 12 i>
 Note: Don't use Part Il or Part III below for listed property. Instead, use Part V.
                                                                                                    13                                                                                                     0.                    4tia;
  1)1':       ía,_ Special Depreciation Allowance and Other Depreciation (Don't include listed property.)(See instructions.)
  14 Special depreciation allowance for qualified property (other than listed property) placed in service
     during the tax year (see instructions)                                                                 14
  15 Property subject to section 168(0(1) election
                                                                                                             15
  16 Other depreciation (including ACRS)
                                                                                                            16                                                                                                                         0.
    ás(rÍr MACRS Depreciation (Don't include listed property.) (See instructions.)
                                                              Section A
  17 MACRS deductions for assets placed in service In tax years beginning before 2017
  18 If you are electing to group any assets placed in service during the tax year into one or
                                                                                               more general
     asset accounts, check here
                          Section      8- Assets Placed in Service During 2017 Tax Year Using the General Depreciation System
                                         (b) Month and year                   (e) Back; fordepreciation
   (a)    Classification of property                  placed In               (business/Investment use        (d)                 (e)
                                                                                                                    period
                                                                                                                                        Convention                                   (r)   Method        (g)      Depreciation deduction
                                                       service                 only -see instructions)
                                                f:, l.r tryr    ¡5,r
 19a            3 -year property
                        p ro P                  ,;   t                  tá


   b
   c
                5 -year
                  property
           7-yearproperty
      ci 10 -year
                                hfi:
                          property's`
                                        r'. ;    i.    ,,,



      o 15 -year property                                      'at tire.
                                                             x..
                                        rtkñ.A3              tkfìtf
                                                        .e7.
       f 20year property               rtr                            14we
                                                                       ',.4


      g 25 -year property                                                                                      25 yrs.                                                                     S/L
      h Residential rental                                                                                    27.5 yrs.                     MM                                             S/L
         property                                                                                             27.5 yrs.                     MM                                             S/L
          i   Nonresidential real                                                                                 ;59 yrs,                  MM                                             S/L
              property                                                                                                                      MM
                                                                                                  5/L
              Section C- Assets Placed in Service During 2017 Tax Year Using the Alternative Depreciation System
 20a Class life                                                                                  S/L
   h 12-year                    1;4,,                            12 yrs.                          5/L
   c 40- ear                                                    40 yrs.        MM                5/L
           Summary (See instructions.)
 21 Listed property. Enter amount from line 28
                                                                                                              21
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
                                                                                                        Enter
     here and on the appropriate lines of your return. Partnerships and S corporations-see
                                                                                           instructions
 23           For assets shown above and placed in service during the current year, enter the
              portion of the basis attributable to section 263A costs                                         .     .
                                                                                                                                                                        23
For Paperwork Reduction Act Notice, see separate Instructions.                                                                                        Cat Ito%UtflffON,RO
                                                                                                            BAA
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          Form 1120             Other Liabilities                2017
             Schedule L                 and Adjustments to Shareholders' Equity

     Name                                                                           Employer Identification No.
     LAW OFFICE OF JUAN LOZADA

                                                                           Beginning of           End of
       Other Current Liabilities:                                            tax year            tax year

      FEDERAL INCOME TAX




      Totals to Form 1120, Schedule L, line 18                                                                .
                                                                           Beginning of           End of
      Other Liabilities:                                                     tax year            tax year




      Totals to Form 1120, Schedule L, line 21

                                                                          Beginning of            End of
      Retained Earnings     - Appropriated:                                 tax year            tax year




     Totals to Form 1120, Schedule L, line 24

                                                                          Beginning of           End of
     Adjustments to Shareholders' Equity:                                   tax year            tax year




     Totals to Form 1120, Schedule L, line 26

    cpcw3901.SCR 09/18/17
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LAW OFFICE OF JUAN LOZADA                                                       821208207                      1




Additional information from your 2017 Federal Corporation Tax Return
Form 1120; US Corporation Income Tax Return
Other Income                                                                     Continuation Statement
                                      Description                                           Amount
OTHER INCOME
REDEMPTION CREDIT
                                                                        Total

Form 1120: US Corporation Income Tax Return
Other Deductions                                                                 Continuation Statement
                                          Description                                            Amount
ACCOUNTING
AUTOMOBILE AND TRUCK EXPENSE
BANK CHARGES
COMMISSIONS
COMPUTER SERVICES AND SUPPLIES
DUES AND SUBSCRIPTIONS
INSURANCE
MEALS AND ENTERTAINMENT (50 %)
OFFICE EXPENSE
OUTSIDE SERVICES
PARKING FEES AND TOLLS
POSTAGE
SUPPLIES
TELEPHONE
TRAINING /CONTINUING EDUCATION
TRAVEL
UNIFORMS}
UTILITIES
                                                                                  Total

Form 4562 (Form 1120 Line 20): Depreciation and Amortization
Line 6 Additional Section 179 Property Statement                                 Continuation Statement

                       (a) Description of Property             (b) Cost (b; s use         (C)   Elected Cost

LAPTOP W /COVER
OFFICE FIXTURES
SOFTWARE    -   CLIO
